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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 In Re:                                            Case No. 14-01361-JJG-13

 Margaret Rose Smith                               Chapter 13

 Debtor.                                           Judge Jeffrey J. Graham

                                CERTIFICATE OF SERVICE

I certify that on May 23, 2019, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Mark S Zuckerberg, Debtor’s Counsel
          filings@mszlaw.com

          John Morgan Hauber, Chapter 13 Trustee
          ecfmail@hauber13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on May 23, 2019, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Margaret Rose Smith, Debtor
          6450 N Round Barn Rd
          Williamsburg, IN 47393

                                                   Respectfully Submitted,

                                                   /s/ Molly Slutsky Simons
                                                   Molly Slutsky Simons (OH 0083702)
                                                   Sottile & Barile, Attorneys at Law
                                                   P.O. Box 476
                                                   Loveland, OH 45140
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                                                   Email: bankruptcy@sottileandbarile.com
                                                   Attorney for Creditor
